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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


 JOHN DOE,                             )
                                       )
                Plaintiff,             )
                                       )
                v.                     )              Case No. 1:18-cv-3713-TWP-MJD
                                       )
 INDIANA UNIVERSITY,                   )
                                       )
                Defendant.             )


                          MOTION TO MAINTAIN DEFENDANT’S
                         DESIGNATED DOCUMENTS UNDER SEAL

         Plaintiff John Doe (“John”), by counsel and pursuant to Local Rule 5-11, respectfully

 requests that the Court maintain Dkt. 44-18 and Dkt. 44-19 under seal.

         Maintaining the foregoing documents under seal is appropriate for the reasons set forth in

 John’s Brief in Support of Motion to Maintain Documents Under Seal, Dkt. 7, which John filed

 contemporaneously with his Verified Complaint and Motion for Preliminary Injunction, and

 John’s Brief in Support of Motion to Proceed Anonymously, Dkt 3. In sum, the foregoing

 documents contain identifying information regarding the Respondent while engaged in intimate

 activities.

         WHEREFORE, John respectfully requests the Court maintain the above-listed documents

 under seal.

                                                      Respectfully submitted,

                                                      /s/ Margaret M. Christensen
                                                      Margaret M. Christensen, 27061-49
                                                      Jessica Laurin Meek, 34677-53
                                                      BINGHAM GREENEBAUM DOLL LLP
                                                      2700 Market Tower
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                        CERTIFICATE OF FILING AND SERVICE

        I hereby certify that on January 7, 2019, the foregoing was filed electronically via the
 Court’s electronic filing system. I further certify that the foregoing was served via email to:

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                                                    /s/ Margaret M. Christensen
                                                    An Attorney for John Doe
